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           In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                  Filed: September 24, 2018
* * * * * * * *               *   *   *   * *
VICTORIA PUSATERI,                          *
                                            *
               Petitioner,                  *               No. 16-467V
                                            *
v.                                          *               Special Master Gowen
                                            *
SECRETARY OF HEALTH                         *
AND HUMAN SERVICES,                         *               Attorneys’ Fees and Costs;
                                            *               Interim; Denial.
               Respondent.                  *
*    * * *     * * * *        *   *   *   * *

               DECISION ON INTERIM ATTORNEYS’ FEES AND COSTS

        On September 20, 2018, petitioner filed a second motion for interim attorneys’ fees and
costs. Motion for Interim Attorney’s Fees and Costs (“Petitioner’s Motion”), ECF No. 78.
Petitioner was awarded $17,725.00 in interim costs on February 13, 2018. See Decision on
Attorneys’ Fees and Costs, ECF No. 65.

       In her instant Motion, petitioner requested $21,518.00 as reimbursement for interim
attorneys’ fees and $5,306.30 as reimbursement for interim costs. Petitioner’s Motion at ¶ 15.

      As stated in the Initial Order, I do not typically award interim fees and costs when the
amount of fees requested is less than $30,000.00, or when the requested costs are less than
$15,000.00. Initial Order at 4, ECF No. 12.

        As petitioner was awarded interim fees and costs only seven months ago and the amounts
she requested for reimbursement in her instant motion do not meet or exceed the benchmark
provided in the Initial Order, petitioner’s motion is DENIED as premature. Petitioner may request
the fees and costs included in her motion at the conclusion of the case or if and when the amounts
requested meet or exceed the benchmark amounts.

        Any questions about this Order or other aspects of the case may be directed to my law
clerk, Kathryn Le, at (202) 357-6361 or kathryn_le@cfc.uscourts.gov.

       IT IS SO ORDERED.
                                                            s/Thomas L. Gowen
                                                            Thomas L. Gowen
                                                            Special Master




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